                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

OWNERS INSURANCE COMPANY,           )
                                    )
                  Plaintiff,        )
v.                                  )
                                    )
TAMARA NICOLE DOCK, as Surviving )
Parent of Albert Wilson Dock and as ) CIVIL ACTION NO.
Administrator of the ESTATE OF      )
ALBERT WILSON DOCK; and             )
ANTOINE OMAR MCLENDON,              )
                                    )
                  Defendants.       )
                                    )


               COMPLAINT FOR DECLARATORY JUDGMENT


          COMES NOW Plaintiff Owners Insurance Company (“Owners”) and files

this Complaint for Declaratory Judgment to resolve a bona fide case or controversy

between Owners and Defendants, as follows:

                            NATURE OF THE ACTION

          1.   Owners paid its full policy limits of $50,000 on behalf of its insured,

Antoine McLendon, to settle a personal injury claim stemming from a crash on

January 26, 2019, that caused multiple injuries and a fatality. After exhausting its

policy limits, Owners continued to defend McLendon in a wrongful death suit filed

by another claimant. McLendon failed to appear for trial and a jury returned a $66.5


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million verdict in favor of the plaintiff against him. Owners seeks a declaration that

McLendon’s policy does not afford coverage for that verdict and judgment, or any

additional costs or expenses associated with his defense in the wrongful death

lawsuit styled Tamara Nicole Dock, as Surviving Parent of Albert Wilson Dock v.

Antoine Omar McLendon, State Court of Liberty County, Georgia, Case No.

STSV2019000019 (the “Wrongful Death Lawsuit”). Owners also seeks a declaration

that the policy does not provide coverage for a second lawsuit filed by Tamara

Nicole Dock arising from the exact same crash, entitled: Tamara Nicole Dock, as

Administrator of the Estate of Albert Wilson Dock, et al. v. Antoine Omar McLendon

and Sepid, LLC, d/b/a Gata’s Sports Bar & Grill (“the Estate Lawsuit”) (collectively

“the Underlying Lawsuits”).

                                     PARTIES

          2.   Plaintiff Owners Insurance Company is an Ohio corporation with its

principal place of business in Michigan. Owners is not a citizen of Georgia or North

Carolina.

          3.   Defendant Tamara Dock is over 18 and a resident citizen of Georgia.

She serves as the administrator of the estate of Albert Wilson Dock, who was a

citizen of Georgia at the time of his death. Thus, as legal representative of Mr.

Dock’s estate, Defendant Tamara Dock is deemed to be a Georgia citizen under 28

U.S.C. § 1332(c)(2).


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          4.    Defendant Antoine McLendon is over 18 and a resident citizen of North

Carolina.

                           JURISDICTION AND VENUE

          5.    This is a declaratory judgment action under the Declaratory Judgment

Act, 28 U.S.C. Section 2201, to resolve an actual controversy between the parties.

          6.    Tamara Dock is a Georgia resident who filed the Underlying Lawsuits

in Georgia and is subject to personal jurisdiction in this Court.

          7.    Defendant McLendon was a Georgia resident at the time of the subject

crash and when the subject policy was issued. He is subject to personal jurisdiction

in this Court.

          8.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332

because it is between citizens of different states and the amount in controversy

exceeds $75,000.

          9.    Venue is proper in this Court because the Underlying Lawsuits were

filed in this district, the crash occurred in this district, and “a substantial part of the

events . . . giving rise to the claim occurred in this district.” See 28 U.S.C. 1391(b)(2).

                            GENERAL ALLEGATIONS

          10.   Owners issued to Antoine McLendon an automobile insurance policy,

number 51-907-753-00 (the “Policy”), effective from 08/10/2018 to 08/10/2019. (A

copy of the policy is attached as Exhibit A).


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          11.   On January 26, 2019, McLendon crashed his car while driving

intoxicated at a high rate of speed. The crash resulted in injuries to claimants Deven

Merchant and David Jackson and the death of Albert Dock.

          12.   Owners received a policy limits timed-demand from claimant Deven

Merchant and on March 21, 2019 paid its policy limits to settle that claim on behalf

of McLendon, fully exhausting the $50,000 policy limits.

          13.   Tamara Dock filed a Wrongful Death Lawsuit against McLendon

asserting claims of negligence and wrongful death arising from the same January 26,

2019 crash, which suit is styled: Tamara Nicole Dock, as Surviving Parent of Albert

Wilson Dock v. Antoine Omar McLendon, State Court of Liberty County, Georgia,

Case No. STSV2019000019.

          14.   Although Owners had exhausted the policy limits, Owners continued

to provide McLendon a defense in the Wrongful Death Lawsuit.

          15.   McLendon failed to appear for trial and thus did not participate and

assist in the defense of the case at trial.

          16.   A jury verdict was entered against McLendon in the Wrongful Death

Lawsuit in the amount of $66,500,000 on July 27, 2021, and Judgment was entered

on August 2, 2021 (the “Judgment”). (See Exhibit B hereto).




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          17.   Tamara Dock then filed a second suit on August 30, 2021 (the “Estate

Lawsuit”) naming McLendon and Sepid, LLC, d/b/a Gata’s Sports Bar & Grill, and

seeking exemplary damages of $66,500,000 (among other things).

          18.   An actual controversy exists between the parties regarding the nature

and extent of Owners’ obligations, if any, to McLendon with respect to the

Underlying Lawsuits.

          19.   Owners’ policy provided auto liability coverage for bodily injury

arising from use of an automobile, subject to payment of the limits of the policy, as

follows:

          SECTION II- LIABILITY COVERAGE

          1. COVERAGE

          a.    Liability Coverage- Bodily Injury and Property Damage

          We will pay damages for bodily injury and property damage for which you
          become legally responsible because of or arising out of the ownership,
          maintenance or use of your automobile (that is not a trailer) as an automobile.
          We will pay such damages:

                (1) on your behalf;
          ….

          We will settle or defend, as we consider appropriate, any claim or suit for
          damages covered by this policy. We will do this at our expense, using
          attorneys of our choice. This agreement to settle or defend claims or suits ends
          when we have paid the limit of our liability.

          20.   Based upon this policy language, Owners has no further duty or

obligation to defend McLendon in the underlying case, including on appeal, or to


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furnish counsel for appeal, or to furnish an appeal bond, or to pay interest on the

judgment – Owners having already paid its policy limits.

          21.      The Owners policy contains a bodily injury, per occurrence limit of

$50,000. Owners paid $50,000 to settle Deven Merchant’s personal injury claim on

March 21, 2019, exhausting the policy limits as to the January 26, 2019 crash.

Owners accordingly has no further responsibility under the policy terms to provide

any coverage to McLendon for either of the Underlying Lawsuits.

          22.      Owners has reserved its right to assert certain additional defenses to

coverage based upon facts that came to light in the trial of the Wrongful Death

Lawsuit. Such facts reveal that the claims alleged in the Estate Lawsuit do not fall

within the risks Owners agreed to insure under the policy.

          23.      Section V of the policy imposes conditions and duties upon the insured,

including duties in the event of occurrence, claim, or suit:

          SECTION V- WHAT YOU MUST DO AFTER AN ACCIDENT OR
          LOSS
                                   ….
          2.   ASSIST AND COOPERATE

                a. You and any person seeking coverage under this policy must cooperate
                with us in the investigation, settlement, or defense of any claim or suit.
                This includes submitting to a statement under oath and giving us access to
                any documents which we request.




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McLendon failed to appear and participate at trial or assist in his own defense.

McLendon’s lack of cooperation was a failure of a condition precedent under the

Policy, resulting in a forfeiture of any remaining coverage.

          24.   Owners seeks a declaration of its rights and duties under the terms and

conditions of the Policy, including a finding that no coverage exists under the policy

with respect to the verdict and judgment in favor of Dock in the first lawsuit, nor

any coverage for a defense or indemnity in the second lawsuit.

          WHEREFORE, Owners Insurance respectfully prays for the following relief:

          (a)   that the Court will undertake jurisdiction and adjudicate the rights of

the parties under the policy;

          (b)   that the Court will declare that the Policy limit has been exhausted;

          (c)   that the Court will declare that the Policy does not afford coverage to

McLendon for the Underlying Lawsuits or any judgment entered therein;

          (d)   that the Court will declare that Owners has no further legal duties under

the Policy with respect to the Judgment or underlying claims and lawsuits;

          (e)   that the Court will grant Owners such other and further relief as the

Court deems just and appropriate.




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          Respectfully submitted this 21st day of September, 2021.



                                                /s/ Bret A. Beldt
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                                                to be filed
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